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                      UNITED STATES DISTRICT COURT FOR
                          THE DISTRICT OF COLUMBIA

Toumazou,                             )
et al.,                               )
                                      )
Plaintiffs,                           ) Civil Action No. 09-1967
                                      ) Judge Paul L. Freidman
v.                                    )
                                      )
                                      )
                                      )
Turkish Republic of Northern Cyprus   )
et al.                                )
                                      )
 Defendants.                          )
                                      )
_____________________________________ )


   MOTION FOR LEAVE TO FILE AN OVERLENGTH MEMORANDUM IN
  SUPPORT OF THE TRNC’S MOTION TO DISMISS PLAINTIFFS’ SECOND
  AMENDED COMPLAINT AND POINTS AND AUTHORITIES IN SUPPORT
                           THEREOF

         Pursuant to Local Rule 7(e), Defendant the Turkish Republic of Northern Cyprus

(“TRNC”) hereby moves this Court for an Order to allow Defendant TRNC leave to file a

memorandum in support of its Motion to Dismiss Plaintiffs’ Second Amended Complaint

in excess of the applicable page limitation. The TRNC’s seeks to file a memorandum

that is 55 pages long, which is ten pages over the limit allowed by Local Rule 7(e), which

allows a party to file a memorandum longer than 45 pages with prior approval by the

Court.

         Counsel for the TRNC sought the consent of counsel for Plaintiffs as required by

Local Rule, Counsel for Plaintiffs refused consent to this Motion.

         In support of this Motion, the TRNC states the following:
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       The TRNC requests leave to file an overlength memorandum so that the TRNC

may include a Counterstatement of Facts of unusual length. This document is necessary

to adequately establish the complex historical background of the Cyprus dispute, which

underlies Plaintiffs’ claims.

       Further, the TRNC’s Counterstatement of Facts seeks to cool the heated political

rhetoric and distortions of the Amended Complaint, which have viciously attacked the

TRNC’s honor and dignity. But for the Counterstatement of Facts, TRNC’s legal

argumentation occupies roughly 31 pages, which is well under the 45 page limit.

       The TRNC has attached the Motion to Dismiss, Memorandum in Support and

attached exhibits as Exhibits to this Motion and respectfully request that should the Court

grant this Motion, that the Court instruct the Clerk of Court to file these documents with a

March 26, 2010 file date.

       WHEREFORE, for the reasons set forth above, pursuant to Local Rule 7(e),

Defendant the Turkish Republic of Northern Cyprus (“TRNC”) hereby moves this Court

for an Order to allow Defendant TRNC leave to file an overlength memorandum in

support of its Motion to Dismiss Plaintiffs’ Second Amended Complaint.

Dated March 26, 2010                          Respectfully submitted,


/s/ Steven R. Perles                          /s/ David S. Saltzman
Steven R. Perles (No. 326975)                 David S. Saltzman (No. 436201)
Edward MacAllister (No. 494558)               SALTZMAN & EVINCH, PC
PERLES LAW FIRM, PC                           655 15th Street, N.W.
1146 19th Street, NW                          Suite 225-F
5th Floor                                     Washington, DC 20005
Washington, DC 20036                          Telephone: (202) 637-9877
Telephone: (202) 955-9055                     Telefax: (202) 637-9876
Telefax: (202) 955-3806

Attorneys for Defendant Turkish Republic of Northern Cyprus



                                             2
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                         UNITED STATES DISTRICT COURT FOR
                             THE DISTRICT OF COLUMBIA

Toumazou,                           )
               et al.,              )
                                    )
             Plaintiffs,            )                Civil Action No. 09-1967
                                    )                Judge Paul L. Freidman
                     v.             )
                                    )
Turkish Republic of Northern Cyprus )
                                    )
             et al.,                )
             Defendants.            )
___________________________________ )

                                        ORDER

       This matter having come before the Court on the TRNC’s Motion for an Order to

allow Defendant TRNC leave to file a memorandum in support of its Motion to Dismiss

Plaintiffs’ Second Amended Complaint in excess of the applicable page limitation, and

the Court having been duly advised,

       IT IS HEREBY ORDERED AND ADJUDGED that the Motion is hereby

GRANTED.

The Clerk is hereby order to file the Motion to Dismiss, Memorandum in Support and

attached Exhibits with a March 26, 2010 file date.

       IT IS SO ORDERED on this the _____ day of ___________, 2010.



                                             _________________________________
                                             United States District Court Judge
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                     UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA

Toumazou,                             )
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                                      )
Plaintiffs,                           ) Civil Action No. 09-1967
                                      ) Judge Paul L. Freidman
v.                                    )
                                      )
                                      )
                                      )
Turkish Republic of Northern Cyprus   )
et al.                                )
                                      )
 Defendants.                          )
                                      )
_____________________________________ )


       DEFENDANT TURKISH REPUBLIC OF NORTHERN CYRPUS’
   MOTION TO DISMISS PLAINTIFFS’ SECOND AMENDED COMPLAINT
  FOR LACK OF PERSONAL JURISDICTION AND IMPROPER VENUE AND
   TO DISMISS THE CLAIMS OF MICHALI TOUMAZOU PURSUANT TO
                       LOCAL RULE 5.1(E)

       The Turkish Republic of Northern Cyprus (“TRNC”) hereby moves for an entry

of an Order dismissing the entirety of Plaintiffs’ Second Amended Complaint for lack of

personal jurisdiction pursuant to Fed. R. Civ. P. 12(b)(2) and improper venue pursuant to

Fed. R. Civ. P. 12(b)(3) or in the alternative to dismiss the claims of Michali Toumazou

pursuant to Local Rule 5.1(e). The TRNC expressly reserves the right to file further

motions to dismiss the Amended Complaint based on other defenses such as lack of

subject matter jurisdiction and failure to state a claim, should the Court assert personal

jurisdiction over the TRNC.

       The Amended Complaint is a political document filed by three non-residents of

the District of Columbia who ostensibly seek redress for alleged property dispossession
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that occurred in 1974 on the Island of Cyprus. The Court should dismiss this Amended

Complaint for its manifest failure to plead a sufficient jurisdictional nexus between the

alleged injuries and the District of Columbia. Additionally, the TRNC’s contacts with

this forum are so slight and unrelated to the causes of action pled by Plaintiffs that the

TRNC could have never reasonably foreseen that it might be sued in the District of

Columbia for the alleged injuries. The fatal deficiency in Plaintiffs’ personal jurisdiction

case is also fatal for Plaintiffs’ case for venue. And finally, Plaintiffs’ failure to abide by

the local civil rules should result in the dismissal of the claims of at least one of the

Plaintiffs.

        The TRNC attaches a Memorandum of Points and Authorities with exhibits in

support of its Motion.


Dated March 26, 2010                            Respectfully submitted,


/s/ Steven R. Perles                            /s/ David S. Saltzman
Steven R. Perles (No. 326975)                   David S. Saltzman (No. 436201)
Edward MacAllister (No. 494558)                 SALTZMAN & EVINCH, PC
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Washington, DC 20036                            Telephone: (202) 637-9877
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Attorneys for Defendant
Turkish Republic of Northern Cyprus
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                    UNITED STATES DISTRICT COURT FOR
                        THE DISTRICT OF COLUMBIA

Toumazou,                             )
et al.,                               )
                                      )
Plaintiffs,                           ) Civil Action No. 09-1967
                                      ) Judge Paul L. Freidman
v.                                    )
                                      )
                                      )
                                      )
Turkish Republic of Northern Cyprus   )
et al.                                )
                                      )
 Defendants.                          )
                                      )
_____________________________________ )


                        COUNTERSTATEMENT OF FACTS
Historical Background: 1
       As described by now-Chief Judge Royce Lamberth in a decision from this Court

in the strikingly similar case, Crist v. Turkey, 995 F. Supp. 5, 7 (D.D.C. 1998): “[t]he

tumultuous history of this Mediterranean island sets the backdrop of this current

litigation. Prior to its annexation to Great Britain, Cyprus was controlled largely by the

Ottoman Turks for several hundred years. In the late nineteenth century, Great Britain

acquired Cyprus from the Ottoman Empire by agreement and in 1925, Cyprus became a

Crown Colony of Great Britain.”        As Judge Lamberth wrote “[a] Greek Cypriot

movement for union with Greece accelerated after World War II, punctuated by acts of

terrorism and violence directed against Turkish Cypriot and British opponents, while the

Turkish minority pressed for partition between Greek and Turkish Cypriots.”


1
  See generally Pierre Oberling, The Road to Bellapais (1975) (describing the history of
the Turks of Cyprus).

                                            1
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       When Great Britain decided to decolonize the Island, Colonial Secretary Alan

Lennox-Boyd pledged in the House of Commons on December 19, 1956 that, “it will be

the purpose of Her Majesty's Government to ensure that any exercise of self-

determination should be effected in such a manner that the Turkish Cypriot community,

no less than the Greek Cypriot community, shall in the special circumstances of Cyprus

be given freedom to decide for themselves their future status.” 2



Foundation and Operation of the Republic of Cyprus:

       Unable to countenance continued armed strife on the island, Greece, Turkey, and

Great Britain concluded three treaties collectively referred to as the London-Zurich

Agreements. A compromise joint government with majority Greek representation was

approved in 1959, and one year later, Cyprus became an independent republic. The

President-elect (Archbishop Makarios III) as well as the Vice-President-elect (Dr. Fazıl

Kutchuk) signed all of the documents that gave birth to the Republic of Cyprus.

       Turkey, Greece and the United Kingdom ratified the Treaty of Guarantee 3 , which

assured the independence of the new state, while the Treaty of Alliance between Turkey,

Greece, and Cyprus provided for the island’s security. The Republic of Cyprus was

universally recognized and given a seat at the United Nations.

       When the Republic of Cyprus was founded in 1960, it was a bi-communal state in

which the Greek Cypriot and Turkish Cypriot communities had the status of co-founders

2
  See, Cyprus (Lord Radcliffe’s Proposals), HC Deb 19 December 1956 vol 562 cc1267-
79, available at: http://hansard.millbanksystems.com/commons/1956/dec/19/cyprus-lord-
radcliffes-proposals.
3
 382 U.N.T.S. 4 No. 5475 (Aug. 16, 1960); See MacDonald, International Law and the
Conflict in Cyprus, 19 Can. Y.B. Int’l L. 3,4 (1981).

                                             2
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and equal partners. Turkish Cypriots comprised one fifth of the island nation’s total

population. They felt safe and looked forward to many years of peace and prosperity

under the Constitution of 1960, which secured the rights of both communities.

          The Constitution of 1960 4 provided inter alia: both Turkish and Greek were to be

the official languages; the executive branch would consist of a Greek Cypriot president

and a Turkish Cypriot vice president; a Council of Ministers supporting the executive

branch would consist of 10 members, 3 Turkish Cypriots and 7 Greek Cypriots; a Turkish

Cypriot was to be given leadership over at least one of the key ministries, defense,

foreign affairs, or finance, and the 50-seat House of Representatives would reserve 15

seats for Turkish Cypriots and 35 for Greek Cypriots. The House of Representatives was

empowered to legislate over almost any matter by vote of a simple majority. Where

legislation involved taxation, municipal affairs, and modifications of the electoral law,

separate majorities of both the Greek Cypriot and Turkish Cypriot members were needed

for passage.



The Destruction of the Constitutional Order:
          The first president of the Republic of Cyprus, Archbishop Makarios,

unfortunately regarded the nation’s independence as but a stepping-stone toward Enosis,

the unification of Cyprus with Greece. Makarios flew the flag of Greece over the

Presidential Palace in Nicosia and on the fenders of his official limousine. 5 On July 28,

1960 Makarios said, “the agreements do not form the goal - they are the present and not

4
 Constitution of the Republic of Cyprus (1960); See Thomas & Thomas, The Cyprus
Crisis 1974-75: Political-Juridical Aspects, 29 Sw. L.J. 513, 514 (1975).
5
    Oberling, at 69.


                                              3
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the future. The Greek Cypriot people will continue their national cause and shape their

future in accordance with their will.” In a speech in his native village of Panayia on

September 4, 1962, he ominously warned, “[u]nless this small Turkish community

forming a part of the Turkish race which has been the terrible enemy of Hellenism is

expelled, the duties of the heroes of EOKA can never be considered as terminated.” 6

EOKA was the Greek Cypriot guerrilla organization that had fought against British rule

in the 1950s. EOKA, which had never fully dissolved, was rearmed in the 1960s to bring

about Enosis in spite of the Treaty of Guarantee, which explicitly stated in its second

article that “Greece, Turkey and the United Kingdom . . . undertake to prohibit . . . any

activity aimed at promoting directly or indirectly, either union of Cyprus with any other

State or partition of the Island.” 7

          Simultaneously, Minister of the Interior Polykarpos Yorgadjis, who, perhaps

ironically, was responsible for maintaining peace within Cyprus, conducted rallies in

support of Enosis. Yorgadjis publicly proclaimed: “[t]here is no place in Cyprus for

anyone who is not Greek, who does not think Greek and who does not constantly feel

Greek.” 8 Yorgadjis, along with future Greek Cypriot leaders, Tassos Papadopoulos and

Glafcos Clerides, formulated the “Akritas Plan” to achieve Enosis under the pretext of

constitutional reform. The plan was first openly acknowledged when it was published in

the newspaper, Patris, in Greece on April 21, 1966. According to the Akritas Plan the

Turkish Cypriots would be presented a series of proposed amendments to the



6
    Osman Örek, Makarios and Enosis, 22 (1974).
7
    382 U.N.T.S. 4 No. 5475 (August 16, 1960).
8
    Oberlng, at 68.

                                            4
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Constitution of 1960. Among the proposed amendments was the revocation of the right

of Turkish Cypriots to veto decisions affecting the future status of the island, as well as

the right to form municipalities. Anticipating that the Turkish Cypriots would reject the

proposed amendments, the Plan provided that should the Turkish Cypriots react strongly,

they would at once be subdued by overwhelming force. 9

         According to plan, thirteen proposed amendments were submitted to the Turkish

Cypriot leadership on November 30, 1963. A constitutional crisis immediately ensued,

paralyzing the government. 10     Meanwhile, EOKA commenced a new campaign of

aggression. 11 On December 23, EOKA guerillas slaughtered 25 Turkish Cypriot patients

at the Nicosia General Hospital. On December 24, the Turkish Cypriot quarters in the

villages of Ayios Vasilios and Skilloura were attacked, resulting in 21 deaths. Next,

Archibishop Makarios dismissed all of the Turkish Cypriot cabinet ministers, members of

the House of Representatives, and diplomats to the United Nations and other foreign

capitals. The Turkish Cypriot community of Cyprus was thus instantly deprived of

representation and what remained of its security. 12



9
  The Akritas Plan is reprinted in Necati Ertekun, The Cyprus Dispute, 165 (1984). See
also J. Reddway, Burdened with Cyprus, 133-34 (1986) (describing the Plan as a
blueprint for securing Greek dominance on the island); Richard A. Patrick, Political
Geography and the Cyprus Conflict, 37-38 (1976) (interview with Glafcos Clerides, then
leader of the Greek Cypriot delegation to the Cypriot House of Representatives,
confirming the existence of the Plan.)
10
  Ehrlich, Cyprus, The Warlike Isle: Origins of the Current Crisis, 18 Stan. L. Rev.
1021, 143 n. 95 (1966).
11
     H. Scott Gibbons, Peace Without Honor, 10 (1969).
12
  Report of the Secretary General on Recent Developments in Cyprus, U.N. Doc. S/6569,
paras. 10, 11 (July 29, 1965). See M. Tamkoç, The Turkish Cypriot State: The
Embodiment of the Right of Self Determination, 74 (1988).

                                             5
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          A subsequent request of the Turkish Cypriot members of the House of

Representatives to return to their seats, conveyed by UNFICYP (the United Nations

Peacekeeping Forces in Cyprus), was countered by conditions put forward by Mr.

Clerides, the Speaker of the House. 13 The Turkish Cypriot parliamentarians would have

to accept, inter alia, the statutory changes made to the Constitution in their absence by

the Greek Cypriot members only. These acts of the Greek Cypriot side sealed the

collapse of the bi-communal Republic.

          Judge Ernst Forsthoff, the neutral President of Cyprus’ Supreme Constitutional

Court told Die Welt newspaper on December 27, 1963 that “Makarios bears on his

shoulders the sole responsibility of the recent tragic events. His aim is to deprive the

Turkish community of their rights.” In an interview with the UPI press agency on

December 30 Judge Forsthoff added “[a]ll this happened because Makarios wanted to

remove all constitutional rights from the Turkish Cypriots.”

          In February 1964, United States Undersecretary of State, George W. Ball, visited

Cyprus and declared that President Makarios was turning the island into his “private

abattoir”, concluding that the Greek Cypriots “just want to be left alone to kill Turkish

Cypriots.” 14 Ball added in his memoir that “Makarios’ central interest was to block off

Turkish intervention so that he and his Greek Cypriots could go on happily massacring

Turkish Cypriots. Obviously we would never permit that.” 15 Unfortunately, neither the




13
     Id., paras. 7 – 11.
14
     Lawrence Stern, The Wrong Horse, 84 (1977).
15
     James A. Bill, George Ball: Behind the Scenes of U.S. Foreign Policy, 184 (1998).


                                              6
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U.S., Great Britain, nor the U.N. would take effective action to prevent it. Only Turkey

intervened to protect the safety of the Turkish Cypriots and not until 11 years later.

       Through 1964 as hostilities escalated, the Turkish Air Force conducted several

limited air strikes that calmed the situation slightly. The U.S. then convinced Turkey that

unilaterally exercising its right to intervene under the Treaty of Guarantee would be

premature, primarily by a June 5, 1964 letter from President Lyndon Johnson to Turkey’s

Prime Minister.

       During the next two years, the now stateless Turkish Cypriots were herded into

small enclaves representing three percent of the island’s geographic area. 16 They were

denied all government services but for the issuance of exit visas to leave the island

permanently.

       The Greek Cypriot community took over all the powers and functions of the bi-

communal Republic of Cyprus contrary to the London-Zurich Agreements of 1960. That

government has continued since December 1963 to function as a purely Greek Cypriot

administration.   The Greek Cypriot parliament also unconstitutionally changed the

entrenched articles of the 1960 Constitution through the passage of ordinary law, such as

those articles relating to the Judiciary (e.g. abolition of the Supreme Constitutional

Court), separate municipalities, elections, etc., thus unilaterally abrogating the rights

bestowed upon the Turkish Cypriots under the 1960 agreements. 17 Moreover, the Greek



16
  See U.N. Doc. S/5950, paras. 29, 30, 177, 180; Oberling, at 146 (displaying a map of
the enclaves).
17
  And on February 19, 2010, the Greek Cypriot House of Representatives unanimously
passed a resolution stating that the Treaty of Guarantee of 1960 is no longer applicable to
the island.


                                             7
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Cypriot parliament adopted on June 26, 1967 the following resolution, which has not

been repealed:

           Interpreting the age-long aspirations of the Greeks of Cyprus, the House
           declares that despite any adverse consequences it would not suspend the
           struggle being conducted with the support of all Greeks, until the struggle
           ends in success through the union of the whole and undivided Cyprus with
           the motherland, [Greece] without intermediary stage.
           In late 1967, fierce attacks against the Turkish Cypriots resumed, this time under

the guise of the “Cypriot National Guard” which had been established by General George

Grivas, a retired officer from Greece who believed that Enosis was best achieved by

force. Archbishop Makarios, who regarded General Grivas as a dangerous fanatic, asked

the Greek government to limit Grivas’ powers. 18 Nevertheless, after forcibly disarming

all of the UNFICYP troops in Larnaca, Grivas’ National Guard attacked the villages of

Ayios, Theodoros and Kophinoi. 19

           Shortly after, on November 17, 1967, the Turkish Parliament authorized the

government to go to war with Greece itself should the Cyprus situation deteriorate

further.     As Turkey and Greece neared the brink of war, they reached a bilateral

agreement by which General Grivas was to be recalled to Greece, Archbishop Makarios

was to dissolve General Grivas’ National Guard, and compensation was to be paid to the

victims of the Ayios, Theodoros and Kophinoi atrocities. In spite of this agreement, the

National Guard remained intact and no compensation was paid. Makarios continued his

policy of economic strangulation of the Turkish Cypriot enclaves, many of which were

crowded with farmers who no longer had access to their lands and thus lacked an ability


18
     Oberling, at 131.
19
     Id., at 138-140.


                                               8
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to earn a living. 20 The U.N. Secretary-General reported on September 10, 1964 that

“[t]he economic restrictions being imposed against the Turkish Cypriot communities,

which in some instances has been so severe as to amount to veritable siege, indicated that

the Government of Cyprus seeks to force a potential solution by economic pressure.” 21

          In late 1973, General Dimitrios Ionnides seized power in Athens by coup d’etat.

Tired of Archbishop Makarios’ cautious approach to Enosis, General Ionnides overthrew

the Makarios government and installed Nicos Sampson as President of Cyprus. Almost

at once, Sampson and a newly reconstituted “EOKA-B” embarked upon a massacre of

Makarios’ cohorts on Cyprus. Hundreds of Greek Cypriots were butchered in less than

one week. But the predominant target was the Turkish Cypriot community. The Greek

newspaper Eleftherotipia published an interview with Nicos Sampson on February 26,

1981 in which he declared “[h]ad Turkey not intervened I would not only have

proclaimed Enosis, I would have annihilated the Turks in Cyprus.” The leader of the

Turkish Cypriot community, Rauf Denktash, stated that Sampson’s leadership of Cyprus

was “as unacceptable as Adolf Hitler would be as president of Israel.” 22



The Turkish Military Intervention:
          Between 1964 and 1974, 20,000 Greek troops had covertly entered Cyprus in

preparation for the final push toward Enosis. 23 On July 19, 1974, Archbishop Makarios


20
     Id., at 141-142.
21
     U.N. Doc. S/5950.
22
  Taki Theodoracopoulos, The Greek Upheaval: Kings, Demagogues & Bayonets, 50
(1978).
23
     Oberling, at 138.

                                             9
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told the UN Security Counci, “I do not yet know the details of the Cyprus crisis caused

by the Greek military regime. I am afraid that the number of losses is great . . . I

considered the danger from Turkey lesser than the danger from Greek army officers.”

Turkey, fearing a broader war, called for an emergency meeting in London with the

United Kingdom and Greece, the other parties to the Treaty of Guarantee. The Greek

government chose not to attend. After conferring with the United Kingdom, Turkey then

invoked the Treaty of Guarantee and intervened on July 20, 1974. The initial battle

lasted two days, by which time Turkish forces gained the advantage and agreed to a

cease-fire in accord with Resolution 353 of the United Nations Security Council of July

20, 1974. 24

        The original zone of operations encompassed only a narrow strip of land along the

Kyrenia-Nicosia highway between the port in Kyrenia and the inland capital of Nicosia.

Although the Turkish intervention caused the swift fall of the Greek junta in Athens and

the reestablishment of the Makarios government in Cyprus, the slaughter of Turkish

Cypriot villagers outside of the Turkish zone of military operations intensified as the

Cypriot National Guard, now fortified with troops and materiel from Greece, and EOKA-

B stepped up their campaigns with heightened vengeance. Six Turkish enclaves were

nearly entirely wiped out. Mass murders of over one hundred women and children took

place in Muratağa, Atlılar and Sandallar. Responding with the intention to establish a

safe haven large enough to accommodate the entire Turkish Cypriot population on the

island, on August 14, 1974, the Turkish Army recommenced military action. By the




24
  See Patrick L. Townsend, Vertical Assault: The Proof is in the Doing, Proceedings of
the U.S. Naval Inst., Nov. 1977.

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cease-fire of August 16, 1974, most of the northern third of Cyprus had come under the

administrative control of the Turkish Army.



Post-War Population Exchanges:
         The fighting over, representatives of the two communities met under U.N.

auspices to stabilize the situation. Already populations were on the move. Under the

“good offices” mission of the U.N. Secretary General, the population exchanges were

formalized. The U.N. Secretary General recorded the parties’ agreement:

         1. The Turkish Cypriots at present in the south of the island will be
         allowed, if they want to do so, to proceed north with their belongings
         under an organised programme and with the assistance of UNFICYP.
         2. Mr. Denktash [the Turkish Cypriot leader] reaffirmed, and it was
         agreed, that the Greek Cypriots at present in the north of the island are free
         to stay and that they will be given every help to lead a normal life,
         including facilities for education and for the practice of their religion, as
         well as medical care by their own doctors and freedom of movement in the
         north.
         3. The Greek Cypriots at present in the north who, at their own request and
         without having been subjected to any kind of pressure, wish to move to the
         south, will be permitted to do so.” 25
By this means the voluntary division of the island into two zones, a Turkish Cypriot north

and Greek Cypriot south, was realized.

         Two separate and exclusive administrations thus came into being in Cyprus. The

separate status of the two communities was reinforced not only by the Vienna population

exchange agreement noted above, but also by the Geneva Declaration of 1974 in which

the two community leaders, Makarios and Denktash “noted the existence in practice in

the Republic of Cyprus of two autonomous administrations, that of the Greek Cypriot


25
     U.N. Doc. S/11789. See U.N. Doc. S/11900, paras. 10, 31, 36 (December 8, 1975).


                                              11
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community and that of the Turkish Cypriot community.” 26

          The United Nations spurred a series of intercommunal talks, but with Makarios’

sudden death in August 1977, a stalemate emerged. The new Greek Cypriot leader,

Spyros Kyprianou, was intransigent in the face of U.N. efforts to continue talks.

          Turkey’s military intervention has since been declared lawful under the Treaty of

Guarantee of 1960 by the Standing Committee of the Consultative Assembly of the

Council of Europe 27 and the Select Committee of the British House of Commons. 28



Turkish Cypriot Self-Administration:
          Meanwhile, the stateless Turkish Cypriots in northern Cyprus began to administer

themselves. 29 The administration eventually assumed all of the functions of a separate

government. In February 1975, it began calling itself the Turkish Federated State of

Cyprus in hopes of facilitating a federal settlement on the island. Then in 1983, formal

independence was declared under the name of the Turkish Republic of Northern Cyprus

(the “TRNC”).

          Today, the TRNC comprises that part of the island of Cyprus north of the United

Nations controlled Green Line. It is governed as a democratic republic. The President is


26
     H.M.S.O. (Her Majesty’s Stationery Office) Misc. 30 (1974), Cmnd. 5712.
27
     1976 Eur. Y.B. (Council of Eur.) 432.
28
  Gr. Brit. H.C., Select Committee Report on Cyprus, 1975-76, 17 Sessional Papers. See
E. Lauterpacht, Turkish Republic of Northern Cyprus: The Status of the Two
Communities in Cyprus, U.N. Doc. A/44/968 S/21463 (1990) (stating, “The British
Government, though expressing positive agreement with [the view of the Select
Committee], has never – despite repeated opportunities – denied it.”).
29
 See Blay, Self Determination in Cyprus: The New Dimensions of an Old Conflict, 10
Austl. Y.B. Int’l L. 67, 71-72 (1984).

                                             12
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considered the head of state, the Prime Minister the head of the government.            Its

legislature is composed of 50 members proportionally representing five electoral districts.

The TRNC judiciary is independent of the other branches of government. Freedom

House, an independent watchdog organization that advocates for democracy and human

rights, rates the TRNC as “Free.”

       Though the TRNC is not recognized by any state other than Turkey, the TRNC’s

President regularly meets high government officials and foreign leaders from the U.S.

Secretary of State, the Secretary General of the U.N., the European Commission

President, the British Prime Minister, and the leaders of the member states of the

Organization of the Islamic Conference, in which the TRNC is an observer member.

       Turkish Cypriots still hope to form some kind of federation with Greek Cypriots.

And although the United States formally recognizes only the Greek Cypriot government,

it openly promotes a bi-zonal, bi-communal federation on the island. 30



Property on the Island and the Annan Plan:
       It is now universally accepted that the territorial aspect of a future Cyprus

settlement will be based on the principle of bi-zonality and that the territory under the

administration of each constituent state will be adjusted through the process of

30
   See, e.g., Statement of U.S. Secretary of State (March 8, 2010) (“I reiterated our
support for the Cypriot-led negotiations under the auspices of the UN Secretary General’s
Good Offices Mission, led by Alexander Downer. I commend both Cypriot leaders on
their hard work in these settlement talks and on the progress that they are making.”)
available at: http://www.state.gov/secretary/rm/2010/03/137951.htm,; Statement of U.S.
Assistant Secretary of State for European and Eurasian Affairs (March 17, 2010) (“We
commend both Cypriot leaders for their efforts and urge them to seize this window of
opportunity to pursue negotiations leading to a settlement that reunifies Cyprus into a bi-
zonal and bi-communal federation.”) available at:
http://turkey.usembassy.gov/statement_031710.html.


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negotiation within the framework of talks under United Nations auspices. The parties

have affirmed their support for a federal solution of the constitutional aspect and a bi-

zonal solution of the territorial aspect of the Cyprus problem, most recently in a joint

statement issued by Turkish Cypriot leader Talat and Greek Cypriot leader Christofias

following their meeting of May 23, 2008, in which they “reaffirmed their commitment to

bi-zonal, bi-communal federation with political equality, as defined by relevant Security

Council resolutions. This partnership will have a federal government with a single

international personality, as well as a Turkish Cypriot constituent state and a Greek

Cypriot constituent state, which will be of equal status.” 31 An attempt to implement this

proposed structure was made in the U.N. sponsored “Annan Plan,” which put referenda

before the two communities.

       The Annan Plan envisaged a federal solution that would create the “United

Cyprus Republic” composed of two constituent states, the Greek Cypriot state and the



31
  The principles of “bi-communality” and “bi-zonality” for a Cyprus solution find
expression in various United Nations resolutions from 1974 onwards. e.g. Security
Council Resolution 3212 of November 1, 1974 (referring to the two Cypriot communities
as the basis of the state’s constitutional order, and offering the Secretary General’s “good
offices” in negotiations between the two communities), available at: http://daccess-dds-
ny.un.org/doc/RESOLUTION/GEN/NR0/738/14/IMG/NR073814.pdf?OpenElement,
Security Council Resolution 774 of August 26, 1992 (stating that the U.N. “Reaffirms its
position that a Cyprus settlement must be based on [a single state with] two politically
equal communities … in a bi-communal and bi-zonal federation”), S/Res/744 (1992),
Security Council resolution 750 of April 10, 1992 (“Endorses the set of ideas described in
paragraphs 17 to 25 and paragraph 27 of the Secretary-General's report [S/23780] as an
appropriate basis for reaching an overall framework agreement, subject to the work that
needs to be done on the outstanding issues, in particular on territorial adjustments and
displaced persons, being brought to a conclusion as an integrated package mutually
agreed upon by both communities”), available at: http://daccess-dds-
ny.un.org/doc/RESOLUTION/GEN/NR0/011/09/IMG/NR001109.pdf?OpenElement,
and the Ghali “Set of Ideas” of July 1992, on which Security Council Resolution 774 was
partly based.


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Turkish Cypriot state. 32     The accepted authority of the TRNC government over the

people and territory of northern Cyprus stands at the core of the approach adopted by the

U.N. Secretary-General and endorsed by the international community for the resolution

of the Cyprus conflict. This is evident in the submission of the Annan Plan to separate

referenda in the north and south of the island on an equal footing. Indeed, the April 24,

2004 referendum in the TRNC was carried out under the laws and by the authorities of

the TRNC, just as it was carried out in southern Cyprus under the laws of the Greek

Cypriot government.

          Significantly, the Annan Plan also acknowledged that the reciprocal issue of

property in Cyprus required a sui generis solution. Article 1 of Annex VII entitled

“[t]reatment of property affected by events since 1963” stated clearly that it was dealing

with “properties which were affected as a consequence of inter-communal strife, military

action or the unresolved division of the island since 1963.” 33      If approved by dual

referenda, the unified entity created by the Annan Plan would have entered the European

Union. The Turkish Cypriots voted to approve the Annan Plan, with 65 percent in favor.

The Greek Cypriots voted to reject the plan, with only 24 percent in favor. Thus, the

Annan Plan failed. Though the Annan Plan failed because of the Greek Cypriot rejection,

its stands as a reflection of the widely-endorsed desire of the international community to

strike a fair balance between the two Cypriot communities in the resolution of the Cyprus

conflict, as well as the fact that the Turkish Cypriot community continues to be treated by



32
 Basis for Agreement on a Comprehensive Settlement of the Cyprus Problem (“The
Annan Plan”) 2004, is available at: http://www.unficyp.org/nqcontent.cfm?a_id=1637.
33
     The Annan Plan, Part I, Article 1.


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the U.N. Secretary-General as an entity of inherently equal status to the Greek Cypriot

community.

       Despite the failure of the United Nations-sponsored referenda, as of May 1, 2004

the European Union (“E.U.”) has considered the whole island of Cyprus part of the E.U.

E.U. legislation is deemed “suspended” in the TRNC, though the E.U. considers Turkish

Cypriots to be E.U. citizens. The E.U. approved €259 million, or approximately $360

million, in aid to Turkish Cypriots on February 27, 2006. 34

       The current round of negotiations between President Talat on behalf of the

Turkish Cypriot community and President Christofias on behalf of the Greek Cypriot

community has been ongoing for 18 months and has comprised over 60 meetings.

       Leaders of both Cypriot communities, the United Nations Secretary General, the

European Union Commission on Enlargement and most commentators have stated that a

workable solution to the various property claims on the island is essential to finding a

durable political settlement on the island and, therefore, it remains one of the central

issues in negotiations. As stated in the May 27, 2005 Report of the Secretary-General on

the United Nations operation in Cyprus: “[t]he prospect of an increase of litigation in

property cases on either side poses a serious thereat to people-to-people relationships and

to the reconciliation process and to the reconciliation process. Property rights continue

to be an extremely sensitive issue on both sides and it is widely believed that only a

comprehensive settlement of the Cyprus problem can bring closure to the property

issue.” 35 And quite recently, on March 10, 2010, the Greek Cypriot President Christofias



34 See, Website of the European Commission in Cyprus,
http://ec.europa.eu/cyprus/turkish_community/index_en.htm).
35
   U.N. Doc. S/2005/353 (emphasis added).

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declared, “[T]he property issue, as well as other aspects of the Cyprus problem, will be

solved at the negotiating table.” 36



Cyprus Property Litigation in Other Fora:
        Courts in southern Cyprus, a commission in northern Cyprus and the European

Court of Human Rights all have considered land claims of Greek Cypriots seeking

compensation for their abandoned properties in northern Cyprus and have provided legal

relief. It would be erroneous, therefore, to suggest that relief outside the U.S. court

system is impossible. To the contrary, local fora exist to address these issues both on the

island of Cyprus and within the European Union without regard to the ethnicity of the

applicant.

        In the wake of the post-conflict population exchanges in 1975, properties lay

abandoned in both northern and southern Cyprus and refugees on both sides of the island

sought to establish their lives anew. The nascent Turkish Federated State of Cyprus

adopted a law whereby Turkish Cypriots who had abandoned real property in southern

Cyprus could be distributed properties of equal value abandoned by Greek Cypriots in

northern Cyprus. 37 In order to receive an abandoned property in the north, the Turkish

Cypriot would be required to renounce all rights to his or her former property in the



36
   Speeches and Statements of the President [of the Republic of Cyprus], available at:
http://www.presidency.gov.cy/presidency/presidency.nsf/257dd326cd3d2743c225751500
33e6a7/385cd348a973abd0c22576f0002157d2?OpenDocument
37
  This law is now encompassed within TRNC Law 67/2005 of December 22, 2005, the
“Law for the Compensation, Exchange and Restitution of the Immovable Properties
Which are Within the Scope of Sub-Paragraph (B) of Paragraph (1) of Article 159 of the
[TRNC] Constitution.”


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south, which would avoid awarding a windfall upon eventual unification of the island.

Meanwhile, the Greek administration in southern Cyprus likewise requisitioned all

Turkish Cypriot properties and eventually established a Turkish Cypriot property

management department to hold abandoned Turkish Cypriot properties in trust.            It,

however, forbade all Turkish Cypriots of disposing of such property until the island is

united, regardless of whether they renounced their rights.

         These dual systems have been challenged in a variety of recent cases, all in

Europe. No American court has granted jurisdiction over such claims. An example of a

case challenging the system in southern Cyprus is the matter of Nezire Sofi, a Turkish

Cypriot, who had filed suit in the European Court of Human Rights (“ECHR). 38 Days

before oral argument was to commence on January 28 of this year, the Greek Cypriot

government agreed to settle the case, conceding publicly that its law preventing Turkish

Cypriots from disposing of their property violated the European Convention on Human

Rights and agreeing to pay Ms. Sofi €500,000 and to amend its law. 39



38
     Sofi v. Cyprus, European Court of Human Rights (no. 18163/04).
39
   This was a representative case. As described in the March 11, 2008 State Department
Report on Human Rights in Cyprus, available at:
http://www.state.gov/g/drl/rls/hrrpt/2007/100554.htm, “Turkish Cypriots have filed a
total of 43 cases in the courts to reclaim property located in the government-controlled
area, eight of which were new cases filed during the year. During the year the courts
dismissed five property cases because they concerned Turkish Cypriot properties that are
under the guardianship of the Ministry of Interior. According to the law, these properties
cannot be returned unless the owners resettle permanently in the government-controlled
area. The applicants filed appeals and the cases were pending before the Supreme Court
at year's end.” The Sofi case should resolve the remaining cases. And contrary to an
allegation in Plaintiffs’ Second Amended Complaint, at present, the U.S. State
Department does not issue warning about the title of property in northern Cyprus, rather
the website of the Bureau of Consular Services, available at:
http://travel.state.gov/travel/cis_pa_tw/cis/cis_1098.html, states, “American Citizens who
buy or lease property, particularly in the area administered by Turkish Cypriots, may find

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          An example of a case challenging the system in northern Cyprus is the matter of

David and Linda Orams in which a Greek Cypriot who had abandoned his property in

northern Cyprus sued the subsequent owners, British nationals, for rent, restitution and

other damages at the Nicosia District Court in southern Cyprus. The court issued a

default judgment in favor of the plaintiff, Mr. Meletios Apostolides, and he was

eventually able to get the judgment enforced outside of southern Cyprus pursuant to a

European Court of Justice decision. 40 ECHR decisions are binding on United Kingdom

courts, therefore, the United Kingdom Court of Appeal upheld the ECHR decision on

January 19 of this year. A separate appeal of the European Court of Justice decision

remains under submission.

          Earlier, compensation in the amount of 320,000 Cyprus Pounds, or approximately

$750,000, was awarded to a Greek Cypriot who had abandoned property in northern

Cyprus in the case of Loizidou v. Turkey. 41 Following this verdict, approximately 1,400

similar cases were filed with the ECHR. And in Demades v. Turkey, 42 an award of

€835,000, or approximately $1.15 million, was ordered.

          To more fully adjudicate the claims of those who may have abandoned property

in northern Cyprus and alleviate the need of claimants to appeal to the European Court of



their ownership challenged by people displaced as a result of the 1974 conflict.
Prospective property buyers should always seek legal advice before buying,” This is
identical to the advice given to prospective purchasers of real property in northern Cyprus
who make inquiries of the TRNC Representative Office in Washington, DC.
40
     Apostolides v. Orams, European Court of Justice (no. C-420/07).
41
     European Court of Human Rights (no. 40/1993/435/514).
42
     European Court of Human Rights (no. 16219/90).


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Human Rights, the TRNC created the Immoveable Property Commission (“IPC”) in

2005. It was created also as a response to the case of Xenides-Arestis v. Turkey, 43 in

which the ECHR spoke favorably toward the creation of a dispute resolution mechanism

in the TRNC. The IPC began proceedings in 2006. Two of the six commissioners, a

German national and a Swedish national, are non-Cypriot which adds credence and

impartiality to the IPC’s work. The IPC offers a local remedy to dispossessed Greek

Cypriots, or their heirs, in the form of restitution, exchange or compensation with respect

to abandoned property. 44 By no means does the statute creating and governing the IPC

constitute an admission that the properties subject to its jurisdiction belong to any

individual plaintiff or group of plaintiffs. 45

        As of January 21, 2010, some 445 Greek Cypriot applications have been received

by the IPC. Eighty-nine claims have been settled without need for a hearing. Four

claims have been settled after a full hearing. Nearly all of the claims that have settled

have been on the basis of compensation. Four cases have been settled on the basis of

restitution, and two cases have been settled with exchange and compensation. In one

43
  European Court of Human Rights (no. 46347/99). The Greek Cypriot plaintiff was
awarded total damages of €885,000 or about $1.2 million.
44
   The IPC reports its Decisions and statistics at:
http://www.kuzeykibristmk.org/english/index.html.

45See TRNC Law 67/2005 of December 22, 2005, the “Law for the Compensation,
Exchange and Restitution of the Immovable Properties Which are Within the Scope of
Sub-Paragraph (B) of Paragraph (1) of Article 159 of the [TRNC] Constitution.” In
Plaintiffs Second Amended Complaint in unnumbered paragraphs on pp. 7-8 and 9
asserts that the language of this law concedes that all IPC adjudications proceed from the
basis that abandoned properties are presently owned by those who abandoned them,
including Plaintiffs. This is a nonsensical and self-serving reading. If Plaintiffs, Cypriots
one and all, truly believed in their own interpretation, then one would expect that they
would raise their claims before the IPC and not seek to invoke the jurisdiction of a United
States court.

                                                  20
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case the commission ruled for partial restitution. The total compensation paid out in

settlements to date is approximately 39 million British pounds, or approximately $65

million.

         Most applications to the IPC request compensation, restitution being requested in

a small minority of the cases. The case of Demopoulous v. Turkey, challenging the

ability of the IPC to offer a sufficient remedy was heard by the ECHR on November 18,

2009. On March 5, 2010 the Court determined that, “[TRNC] Law 67/2005 provides an

accessible and effective framework of redress in respect of complaints about interference

with the property owned by Greek Cypriots,” and thus the cases of the plaintiffs were,

“rejected for non-exhaustion of domestic remedies. [The ECHR] is satisfied that Law

67/2005 makes realistic provision for redress in the current situation of occupation that

is beyond this Court's competence to resolve.” 44

         In sum, property remains a central issue in negotiations to achieve a bi-zonal, bi

communal comprehensive settlement to the Cyprus dispute, and these negotiations are

supported not only by the two Cypriot communities, but also the United States, the

United Nations and the European Union.              Until those negotiations are positively

concluded, Greek Cypriots have access to several fora on the island of Cyprus and within

the states and structures of the European Union to provide legal relief.



Dated March 26, 2010                          Respectfully submitted,

/s/ Steven R. Perles                          /s/ David S. Saltzman
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PERLES LAW FIRM, PC                           655 15th Street, N.W.

44
     European Court of Human Rights (no. 46113/99) (emphasis added).

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                     UNITED STATES DISTRICT COURT FOR
                         THE DISTRICT OF COLUMBIA

Toumazou,                             )
et al.,                               )
                                      )
Plaintiffs,                           ) Civil Action No. 09-1967
                                      ) Judge Paul L. Freidman
v.                                    )
                                      )
                                      )
                                      )
Turkish Republic of Northern Cyprus   )
et al.                                )
                                      )
 Defendants.                          )
                                      )
_____________________________________ )

                                        ORDER

       This matter having come before the Court on the TRNC’s Motion to Dismiss for

lack of personal jurisdiction and improper venue and to dismiss the claims of Michali

Toumazou pursuant to Local Rule 5.1(e), and the Court having been duly advised,

       IT IS HEREBY ORDERED AND ADJUDGED that the Motion is hereby

GRANTED.

The Complaint is hereby dismissed for lack of personal jurisdiction and improper venue

or in the alternative the claims of Michali Toumazou are dismissed pursuant to Local

Rule 5.1(e) with prejudice.

       IT IS SO ORDERED on this the _____ day of ___________, 2010.



                                            _________________________________
                                            United States District Court Judge
